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                                 Closing - Dismissed/Tr Page 1 of 1

                                 UNITED STATES BANKRUPTCY COURT

                                          Northern District of Georgia


In     Debtor(s)
Re:    Carmen Reshun Smith                               Case No.: 24−55036−jwc
       5529 Swanson Rd.                                  Chapter: 7
       Ellenwood, GA 30294                               Judge: Jeffery W. Cavender

       xxx−xx−3734




                      ORDER DISCHARGING TRUSTEE AND CLOSING ESTATE(S)




     The above−styled case having been dismissed by Order of the Court, it is ORDERED that the estate(s) is
closed and the Trustee is discharged from and relieved of the trust.




                                                         Jeffery W. Cavender
                                                         United States Bankruptcy Judge


Dated: August 29, 2024

Form 178
